USCA11 Case: 23-13031     Document: 14     Date Filed: 11/29/2023   Page: 1 of 65



                            CASE NO. 23-13031-E


        I N THE U NITED S TATES D ISTRICT C OURT OF A PPEALS
                     FOR THE E LEVENTH C IRCUIT


                        L. SQUARED INDUSTRIES, INC.,

                             Plaintiff-Appellant,

                                      V.

                    NAUTILUS INSURANCE COMPANY,

                             Defendant-Appellee.

           APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA

                        NO. 3:21-CV-01104-BJD-PDB

                    A PPELLANT ’ S O PENING B RIEF


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 USCA11 Case: 23-13031     Document: 14     Date Filed: 11/29/2023   Page: 2 of 65



     L. Squared Industries, Inc. v. Nautilus Ins. Co. • No. 23-13031-E
    C ERTIFICATE OF I NTEREST P ERSONS & C ORPORATE D ISCLOSURE
                             S TATEMENT
      The undersigned attorney certifies, pursuant to Federal Rule of Appel-

late Procedure 26.1 and Local Rule 26.1-2, that the following persons and

entities may have an interest in the outcome of this case:

          Davis, Hon. Brian J. (Trial Judge)

          L. Squared Industries, Inc. (Plaintiff-Appellant)

          Maley, Robert (50% Owner of Plaintiff-Appellant)

          Maley, Felicity (50% Owner of Plaintiff-Appellant)

          Guilday Law, P.A. (Counsel for Plaintiff-Appellant)

          Fingar, Robert D. (Counsel for Plaintiff-Appellant)

          Hatch, III, George W. (Counsel for Plaintiff-Appellant)

          Slater, Dwight O. (Counsel for Plaintiff-Appellant)

          van den Berg, Elizabeth (Counsel for Plaintiff-Appellant)

          Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A. (Coun-
           sel for Plaintiff-Appellant)

          Ullo, Jr., F. Joseph (Counsel for Plaintiff-Appellant)

          O’Keefe, Kelly (Counsel for Plaintiff-Appellant)

          Nautilus Insurance Company (Defendant-Appellee)



                                      C-1
 USCA11 Case: 23-13031   Document: 14     Date Filed: 11/29/2023   Page: 3 of 65



         Clyde & Co US, LLP (Counsel for Defendant-Appellee)

         Bahadoran, Sina (Counsel for Defendant-Appellee)

         Warren, Aaron (Counsel for Defendant-Appellee)

     Plaintiff-Appellant, L. Squared Industries, Inc., is not a subsidiary or

affiliate of a publicly-owned corporation. Defendant-Appellee, Nautilus In-

surance Co., is a wholly-owned subsidiary of Admiral Insurance Com.,

which is a wholly-owned subsidiary of J/I Holding Corp., which is a wholly-

owned subsidiary of W.R. Berkley Corp. Berkley is a publicly held company.

                                Respectfully submitted,

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                                    C-2
 USCA11 Case: 23-13031    Document: 14    Date Filed: 11/29/2023   Page: 4 of 65



               S TATEMENT R EGARDING O RAL A RGUMENT

     Plaintiff-Appellant respectfully requests an opportunity to present

oral argument on the issues presented in this appeal. This case involves the

interpretation of an intricate insurance contract and application to a unique

set of facts. Plaintiff-Appellant believes that oral argument would aid this

Honorable Court in its review.




                                    –i–
 USCA11 Case: 23-13031           Document: 14        Date Filed: 11/29/2023     Page: 5 of 65



                                  T ABLE OF C ONTENTS

Certificate of Interest Persons & Corporate Disclosure Statement ... 1

Statement Regarding Oral Argument ............................................... i

Table of Contents ........................................................................... ii

Table of Citations .......................................................................... iv

Jurisdictional Statement .............................................................. vii

Statement of the Issues(s) ............................................................viii

Statement of the Case & Facts ....................................................... 1

Summary of the Argument ........................................................... 26

Standard of Review....................................................................... 29

Argument ..................................................................................... 30

I.     The District Court erred in granting summary
       judgment for Nautilus and denying summary
       judgment for L. Squared; therefore, this Court should
       reverse the Final Judgment. ................................................. 30

       A.     The District Court misconstrued the Policy. .................. 33

                    The District Court’s interpretation of “first
                    discovered” does not comport with the
                    term’s plain and ordinary meaning......................... 34

                    Within the context of the Policy, the plain
                    and ordinary meaning of the phrase “first
                    discovered” means when, after investigation
                    and confirmation, L. Squared learned that
                    the pollution conditions were the result of a
                    new discharge. ....................................................... 35




                                              –ii–
 USCA11 Case: 23-13031           Document: 14         Date Filed: 11/29/2023     Page: 6 of 65



                    L. Squared first discovered and timely
                    reported the pollution condition in April
                    2019 once its source was confirmed to be a
                    new discharge from a covered storage tank
                    system. .................................................................. 38

       B.     At a minimum, the phrase “first discovered” as
              used in the Policy is ambiguous and any
              ambiguity should have been resolved in favor of
              L. Squared and providing coverage. ............................... 40

       C.     The District Court erred in finding that a failure
              the notify Nautilus of the pollution condition
              within seven (7) days resulted in the denial of
              coverage. ....................................................................... 42

       D.     Several of the District Court’s findings are
              clearly erroneous or involve genuinely disputed
              material facts. ............................................................... 45

Conclusion ................................................................................... 53

Certificate of Compliance .............................................................. 54




                                              –iii–
 USCA11 Case: 23-13031                Document: 14          Date Filed: 11/29/2023            Page: 7 of 65



                                        T ABLE OF C ITATIONS

Cases

Am. Cas. Co. v. Etowah Bank,
 288 F. 3d 1282 (11th Cir. 2002) .........................................................................29

Auto-Owners Ins. Co. v. Anderson,
 756 So. 2d 29 (Fla. 2000) ................................................................. 33, 40, 41, 45

Cagle v. Bruner,
  112 F. 3d 1510 (11th Cir. 1997) .........................................................................29

Carithers v. Mid-Continent Cas. Co.,
  782 F. 3d 1240 (11th Cir. 2015) .........................................................................29

Clena Invs., Inc. v. XL Specialty Ins. Co.,
  No. 10–cv–62028, 2012 WL 1004851 (S.D. Fla. Mar. 26, 2012) .............. 42, 43

Coleman v. Fla. Ins. Guar. Ass'n,
  517 So. 2d 686 (Fla. 1988) ..................................................................................29

Excelsior Ins. Co. v. Pomona Park Bar & Package Store,
  369 So. 2d 938 (Fla. 1979) ..................................................................... 33, 40, 41

Graber v. Clarendon Nat'l Ins. Co.,
  819 So. 2d 840 (Fla. Dist. Ct. App. 2002) ........................................................29

Herring v. First S. Ins. Co.,
  522 So. 2d 1066 (Fla. 1st DCA 1988) ................................................................41

Ideal Mut. Ins. Co. v. C.D.I. Constr., Inc.,
  640 F. 2d 654 (5th Cir. 1981) .............................................................................41

Ideal Mut. Ins. Co. v. Waldrep,
  400 So. 2d 782 (Fla. 3d DCA 1981) ..................................................................42

Levinson v. Reliance Stand. Life Ins. Co.,
  245 F. 3d 1321 (11th Cir. 2001) .........................................................................29


                                                     –iv–
 USCA11 Case: 23-13031                   Document: 14           Date Filed: 11/29/2023              Page: 8 of 65



Mich. Millers Mut. Ins. Corp. v. Benfield,
 140 F. 3d 915 24 (11th Cir. 1998) ......................................................................30

Mid–Continent Cas. Co. v. Basdeo,
 742 F. Supp. 2d 1293 (S.D. Fla. 2010) ....................................................... 43, 44

Mount Vernon Fire Ins. Co. v. Editorial Am., S.A.,
 374 So. 2d 1072 (Fla. 3d DCA1979) .................................................................43

State Farm Fire and Cas. Co. v. Steinberg,
  393 F. 3d 1226 (11th Cir. 2004) .........................................................................33

Travelers Indem. Co. v. PCR Inc.,
  889 So. 2d 779 (Fla. 2004) ..................................................................................30

U.S. v. U.S. Gypsum Co.,
  333 U.S. 364 (1948) .............................................................................................45

Statutes

§ 376.309(1), Fla Stat. ...............................................................................................3

28 U.S.C. § 1332..................................................................................................... vii

42 U.S.C. § 6691b(c)(6) ............................................................................................2

42 U.S.C. § 6991b(c)(4) ............................................................................................2

42 U.S.C. § 6991b(d) ................................................................................................3

Rules

Fed. R. App. P. 32 ..................................................................................................54

Fed. R. Civ. P. (60)(a)(6) ....................................................................................... vii

Fed. R. Civ. P. 59(e) ........................................................................................ vii, 25

Fed. R. Civ. P. 60(a)(6) ..........................................................................................25



                                                         –v–
 USCA11 Case: 23-13031                   Document: 14           Date Filed: 11/29/2023              Page: 9 of 65



Regulations

40 C.F.R. § 280.92 .....................................................................................................3

40 C.F.R. § 280.97 .....................................................................................................2

40 C.F.R. § 280.97(b)(1) ...........................................................................................2

40 C.F.R. 280.52(a) ...................................................................................................5

40 C.F.R. 280.52(b) ...................................................................................................5

40 C.F.R. 280.97 ......................................................................................... 31, 38, 41

40 C.F.R. Title 40, Part 280, Subpart H .................................................................3

Ch. 62-780, Fla. Admin. Code ..............................................................................47

Fla. Admin. Code R. 62.761.600...........................................................................46

Fla. Admin. Code R. 62-761.430 ............................................................... 8, 48, 50

Fla. Admin. Code R. 62-761.430(1)(a)(10) ............................................................8

Fla. Admin. Code R. 62-761.440 ..........................................................................10

Fla. Admin. Code R. 62-761.600 ..........................................................................46




                                                         –vi–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 10 of 65



                        J URISDICTIONAL S TATEMENT

      Jurisdiction for this declaratory action was proper in the United States

District Court for the Middle District of Florida under 28 U.S.C. § 1332 based

on diversity because Plaintiff-Appellant and Defendant-Appellee are citi-

zens of different states and the amount in controversy exceeds the sum or

value of $75,000.00.

      Jurisdiction is proper in this Court under 28 U.S.C. § 1291 because

Plaintiff-Appellant appeals from a final judgment by a District Court in this

Circuit. The District Court entered the Final Judgment on June 27, 2023.

Plaintiff-Appellant filed a timely Motion for Reconsideration in accordance

with Fed. R. Civ. P. 59(e) & (60)(a)(6). The District Court entered an order

denying Plaintiff-Appellant’s Motion for Reconsideration on August 29,

2023. Plaintiff-Appellant filed a Notice of Appeal to this Court on September

15, 2023.




                                    –vii–
USCA11 Case: 23-13031   Document: 14   Date Filed: 11/29/2023   Page: 11 of 65



                     S TATEMENT OF THE I SSUES ( S )

     Whether the District Court misconstrued the insurance policy and, as

a result, erred in granting the summary judgment motion filed by Defend-

ant-Appellee, and denying the summary judgment motion filed by Plaintiff-

Appellant.




                                 –viii–
USCA11 Case: 23-13031     Document: 14     Date Filed: 11/29/2023   Page: 12 of 65



                    S TATEMENT OF THE C ASE & F ACTS

      This appeal arises from proceedings in the United States District Court

for the Middle District of Florida in which Plaintiff-Appellant, L. Squared

Industries, Inc. (“L. Squared”) sued its insurer, Defendant-Appellee, Nauti-

lus Insurance Company (“Nautilus”), seeking a declaration of its rights un-

der its insurance policy following Nautilus’ denial of coverage. (Doc. 1-2, pg.

5).1 The parties filed cross motions for summary judgment and, on June 23,

2023, the District Court issued an order granting Nautilus’ motion for sum-

mary judgment and denying L. Squared’s. (Doc. 51; Doc. 57; Doc. 89). The

District Court entered final summary judgment for Nautilus on June 27,

2023. (Doc. 90).

      Thereafter, L. Squared moved for reconsideration of the order granting

Nautilus’ motion for summary judgment. (Doc. 93). On August 29, 2023, the

District Court entered an order denying L. Squared’s motion for reconsider-

ation. (Doc. 101). On September 15, 2023, L. Squared filed a notice of appeal




1 L. Squared initially filed suit in the Circuit Court of the Seventh Judicial

Circuit, in and for St. Johns County, Florida; however, Nautilus removed the
action to the United States District Court for the Middle District of Florida
based on diversity jurisdiction.


                                     –1–
USCA11 Case: 23-13031     Document: 14      Date Filed: 11/29/2023   Page: 13 of 65



to this Court seeking review of both the order granting summary judgment

for Nautilus, and the order denying L. Squared’s motion for reconsideration.

(Doc. 102).

                   The State & Federal Regulatory Scheme

      Federal and state regulations require financial responsibility to cover

accidental releases of petroleum from underground storage tanks. Specifi-

cally, in Subchapter IX of the Solid Waste Disposal Act, Congress directed

the U.S. Environmental Protection Agency (“U.S. EPA”) to enact regulations

for taking corrective action (i.e., cleanup) in response to a release from an

underground petroleum storage tank, and for requiring evidence of finan-

cial responsibility for such corrective action as well as for compensating

third parties for bodily injury and property damage caused by accidental

releases. 42 U.S.C. §§ 6991b(c)(4) & (6).

      In response, the U.S. EPA promulgated 40 C.F.R. § 280.97, which au-

thorizes the use of insurance as one way of demonstrating financial respon-

sibility. Insurance policies procured for this purpose must cover sudden and

non-sudden accidental releases. 40 C.F.R. § 280.97(b)(1). Accidental release

means any sudden or non-sudden release of petroleum arising from operat-

ing an underground storage tank that results in a need for corrective action

                                      –2–
USCA11 Case: 23-13031     Document: 14     Date Filed: 11/29/2023   Page: 14 of 65



and/or compensation for bodily injury or property damage neither expected

nor intended by the tank owner or operator. 40 C.F.R. § 280.92. See also 42

U.S.C. § 6991b(d). Florida law also requires financial responsibility for cor-

rective action and third-party liability relating to discharges from under-

ground storage tank systems. See § 376.309(1), Fla Stat. To implement this

requirement, the Florida Department of Environmental Protection (“FDEP”)

has enacted rules incorporating 40 C.F.R. Title 40, Part 280, Subpart H, as

cited above. See Fla. Admin. Code R. 62-761.420.

      With respect to corrective action, the U.S. EPA promulgated the fol-

lowing rule identifying acceptable methods for confirming releases:

            Sec. 280.52 Release investigation and confirmation
            steps.

            Unless corrective action is initiated in accordance
            with subpart F, owners and operators must immedi-
            ately investigate and confirm all suspected releases
            of regulated substances requiring reporting under §
            280.50 within 7 days, or another reasonable time pe-
            riod specified by the implementing agency, using ei-
            ther the following steps or another procedure ap-
            proved by the implementing agency:

            (a)   System test. Owners and operators must con-
                  duct tests (according to the requirements for
                  tightness testing in §§ 280.43(c) and 280.44(b)
                  or, as appropriate, secondary containment test-
                  ing described in § 280.33(d)).

                                     –3–
USCA11 Case: 23-13031    Document: 14     Date Filed: 11/29/2023   Page: 15 of 65




                (1) The test must determine whether:

                     (i) A leak exists in that portion of the tank
                         that routinely contains product, or the
                         attached delivery piping; or

                     (ii) A breach of either wall of the second-
                          ary containment has occurred.

                (2) If the system test confirms a leak into the
                    interstice or a release, owners and opera-
                    tors must repair, replace, upgrade, or close
                    the UST system. In addition, owners and
                    operators must begin corrective action in
                    accordance with subpart F of this part if
                    the test results for the system, tank, or de-
                    livery piping indicate that a release exists.

                (3) Further investigation is not required if the
                    test results for the system, tank, and deliv-
                    ery piping do not indicate that a release ex-
                    ists and if environmental contamination is
                    not the basis for suspecting a release.

                (4) Owners and operators must conduct a site
                    check as described in paragraph (b) of this
                    section if the test results for the system,
                    tank, and delivery piping do not indicate
                    that a release exists but environmental
                    contamination is the basis for suspecting a
                    release.

          (b)   Site check. Owners and operators must meas-
                ure for the presence of a release where contam-
                ination is most likely to be present at the UST
                site. In selecting sample types, sample locations,

                                    –4–
USCA11 Case: 23-13031      Document: 14     Date Filed: 11/29/2023   Page: 16 of 65



                 and measurement methods, owners and opera-
                 tors must consider the nature of the stored sub-
                 stance, the type of initial alarm or cause for sus-
                 picion, the type of backfill, the depth of ground-
                 water, and other factors appropriate for identi-
                 fying the presence and source of the release.

                 (1)   If the test results for the excavation zone or
                       the UST site indicate that a release has oc-
                       curred, owners and operators must begin
                       corrective action in accordance with sub-
                       part F of this part;

                 (2)   If the test results for the excavation zone or
                       the UST site do not indicate that a release
                       has occurred, further investigation is not
                       required.

      In short, there are three methods by which a release may be confirmed:

(1) by a failed test of the UST system, tank, or delivery piping (40 C.F.R.

280.52(a)), i.e., a “system tightness test”; (2) by test results of samples taken

“where contamination is most likely to be present at the UST site” (40 C.F.R.

280.52(b)), i.e, a “site check”;2 or (3) by another method approved by the im-

plementing agency. A site check is required even if the system tests “tight,”

if the presence of contamination is the reason that a discharge is suspected.



2 Obviously, category (2) is problematic at a site with pre-existing contami-

nation and additional scientific evaluation is necessary to determine whether
an accidental release has occurred.


                                      –5–
USCA11 Case: 23-13031      Document: 14     Date Filed: 11/29/2023   Page: 17 of 65



All methods of confirming a release require the responsible party to clean

up the contamination once it is confirmed.

                              Facts of this Case

      The Parties. Plaintiff-Appellant, L. Squared Industries, Inc., is owned

by a husband and wife team—Mr. Robert Maley, who left high school in the

tenth grade, and Ms. Felicity Maley, who left college during her senior year.

(Doc. 57-17, pg. 8, 11).

      The Maleys purchased L. Squared in 1974 as part of their acquisition

of their first gas station, an Exxon station in St. Augustine. (Doc. 57-17, pgs.

10–11). Mr. Maley handles business operations, while Ms. Maley handles the

bookkeeping. (Doc. 57-17, pgs. 8–9). Over the years, L. Squared owned and

operated a total of four gas stations—three in the St. Augustine area and one

in Wildwood. (Doc. 57-17, pg. 8). However, during the time period at issue

in this case, L. Squared owned only one gas station—an Exxon station in St.

Augustine. (Doc. 57-17, pg. 8). Though L. Squared owns the Exxon station,

Sameer Muhho rents the facility and is responsible for its actual operations.

(Doc. 57-17, pg. 20).




                                      –6–
USCA11 Case: 23-13031      Document: 14     Date Filed: 11/29/2023   Page: 18 of 65



      Defendant-Appellee, Nautilus Insurance Company, was formed in

1985 and operates as an eligible surplus lines insurer in all states except Ar-

izona, where the company is domiciled. (Doc. 55, pg. 1).

      The Exxon Gas Station. The gas station at issue in this matter is the

Exxon station located in St. Johns County at 2450 Highway 16, St. Augustine,

Florida 32902. (Doc. 57-5, pg. 1). Exxon discovered a petroleum hydrocarbon

discharge at the Station in September 1985 (the “1985 Discharge”) long be-

fore the Maley’s involvement with the facility. (Doc. 57-5, pg. 1). At that time,

the State of Florida deemed the discharge eligible for the Florida Department

of Environmental Protection’s (“FDEP”)3 reimbursement program. (Doc. 57-

5, pg. 1). Five years later, the discharge became eligible under the Early De-

tection Incentive (“EDI”) Program, which funds the remediation of the dis-

charge. (Doc. 57-5, pg. 1). In October 2006, the previous tank system was re-

moved and was replaced by the tank in use today. (Doc. 57-18, pg. 1). It

should be noted that the 1985 Discharge still has not been fully remediated.




3 References to the Florida Department of Environmental Protection and the

entities with which it contracts throughout the state, are both indicated as
“FDEP” in this brief.


                                      –7–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 19 of 65



E.g., (Doc. 57-18, pg. 6) (“Therefore, the September 18, 1985 discharge ap-

pears to have impacted the smear zone (just beneath the surface) within the

current UST area, potentially contaminating the clean backfill installed in

2006.”); (Doc. 49-21, pg. 1) (“However, program eligible contamination re-

mains at the site.”).

      FDEP Inspects & Orders Repairs & Testing. On May 23, 2017, FDEP

conducted an annual inspection on and noted (1) a need for repair of several

cracked boots; (2) a need for hydro-testing; and (3) stated specifically that

there was “no indication of new release.” (Doc. 57-6, pg. 3). That same day,

the operator of the Site, Sameer Muhho, filed an Incident Notification Form

(“INF”) with FDEP noting the cracked boots. (Doc. 57-7).4 Thereafter, L.

Squared hired Guardian Fueling Technologies (“Guardian”) to make the

necessary repairs. (Doc. 57-8).

      On August 25, 2017, Guardian removed and replaced the boot gaskets

at each of the dispenser sumps and the two underground storage tank




4 Florida Administrative Code Rule 62-761.430 requires owners or operators

to file an INF when a visual inspection reveals damage to certain compo-
nents of an underground storage tank system. See Fla. Admin. Code R. 62-
761.430(1)(a)(10).


                                    –8–
USCA11 Case: 23-13031     Document: 14     Date Filed: 11/29/2023   Page: 20 of 65



sumps. (Doc. 57-8). Guardian hired The NDN Companies Inc. (“NDN”) to

perform a site check and inspect the soil. (Doc. 57-8). On October 23, 2017,

NDN submitted a Limited Closure Report to Guardian. (Doc. 57-8). In the

report, NDN did not report that there was any new discharge at the facility,

determined no further site assessment was necessary at the time, concluded

that there were “hydrocarbon vapors and elevated concentrations of ben-

zene and total xylenes in soil sample SB-4-2., but noted “the site is currently

registered in the FDEP Petroleum Restoration Program [for the 1985 dis-

charge] and is awaiting funding [by the FDEP] for further assessment.” (Doc.

57-8, pg. 4). Importantly, NDN did not conclude that the elevated chemical

concentrations in soil sample SB-4-2 were attributable to a new discharge.

(Doc. 57-8). NDN also sent a copy of its report to FDEP. (Doc. 57-9, pg. 1).

      The Environmental Quality Division (“EQD”), the local program with

which FDEP contracts, reviewed NDN’s Limited Closure Assessment Re-

port, and on March 2, 2018, found that it did not comply with the closure

assessment regulations for sampling and, as a result, directed additional

sampling. (Doc. 57-9). Even though its instructions provide that the owner

has the opportunity to determine whether contamination may be the result




                                     –9–
USCA11 Case: 23-13031      Document: 14    Date Filed: 11/29/2023   Page: 21 of 65



of a previously reported discharge, EQD required L. Squared to file a Dis-

charge Report Form (“DRF”). (Doc. 57-9; Doc. 57-10). L. Squared, of course,

complied. (Doc. 57-10). A DRF is required any time there is a “confirmed

discharge,” any time visual observations or analytical tests (surface, ground-

water, or soil) indicate the presence of contamination, or in the event of a

spill or overfill of a regulated substance. (Doc. 57-10, pg. 1). See also Fla. Ad-

min. Code R. 62-761.440.

      On the DRF, L. Squared indicated that the “date of discovery” was July

2017; however, that date was not intended to indicate the “first discovery”

of a “new discharge,” but rather that analytical testing had revealed the ex-

istence of contamination, which NDN presumed was a product of the 1985

discharge as evidence by its conclusion that “[t]he site is currently registered

in the FDEP Petroleum Restoration Program and is awaiting funding for fur-

ther assessment.” (Doc. 57-10; Doc. 57-8, pg. 8). Further, L. Squared also in-

dicted on the form that the “Estimated number of gallons discharged: Un-

confirmed site failed Hydro test.” (Doc. 57-10, pg. 2). Nevertheless, L.

Squared contended all along that the failed hydro test of the boots did not

indicate a new discharge because the boots do not routinely contain product.

(Doc. 57-22, pgs. 124:2-13; 126:3-12; 126:24-127:8).

                                      –10–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 22 of 65



      On March 9, 2018, FDEP sent letter to L. Squared with additional com-

ments on NDN’s Limited Closure Assessment Report, stating that there was

a need to complete the Closure Assessment by conducting additional

groundwater testing; additional sampling of soil surrounding additional

boots; and additional testing of the soil surrounding SB-4-2 to determine the

extent of contamination. (Doc. 57-11, pgs. 1–2). Importantly, FDEP did not

state that it had identified a new release at that time. (Doc. 57-11). On

April 19, 2018, FDEP issued a Warning Letter concerning the facility requir-

ing additional repairs and sampling. (Doc. 57-12, pg. 2; Doc. 57-13, pg. 1). L.

Squared notified Nautilus about the Warning Letter in its application for in-

surance. (Doc. 57-3, pg. 12). On June 14, 2018, Guardian replaced a dispenser

sump at dispenser 5/6. (Doc. 57-12, pg. 1).

      Thereafter, L. Squared hired Taylor Environmental Consulting to con-

duct closure assessment activities in connection with the dispenser 5/6 dis-

penser sump replacement. (Doc. 57-12, pg. 1). Taylor Environmental in-

spected fuel dispenser 5/6 and rendered a Closure Assessment for Replace-

ment of Dispenser Sump dated August 16, 2018, in which it did not find im-

pacts at fuel dispenser 5/6. See (Doc. 57-12). However, the Closure Assess-

ment did identify some groundwater contamination, but concluded that it

                                     –11–
USCA11 Case: 23-13031      Document: 14   Date Filed: 11/29/2023   Page: 23 of 65



was either from the 1985 Discharge or the contamination L. Squared re-

ported on March 8, 2018 in the DRF. (Doc. 57-12, pg. 4). While it was unclear

as to the source of the contamination, Taylor Environmental’s recommenda-

tion that the groundwater contamination be addressed as part of the govern-

ment-funded assessment and cleanup of the 1985 Discharge suggested that

it believed that, more likely than the not, the contamination resulted from

the 1985 Discharge. (Doc. 57-12, pg. 4). The report also recommended addi-

tional sampling of groundwater and soil for the STP sump in the area of SB-

4-2, which is approximately at the center of the current underground storage

tank area. (Doc. 57-12, pg. 4).

      Taylor Environmental submitted the report to FDEP; however, the as-

signed project manager never responded; she ultimately ended up leaving

FDEP.5 (Doc. 57-13, pg. 1). A successor project manager noticed that his pre-

decessor had dropped the ball; accordingly, on April 16, 2019, he issued a

Site Assessment Request letter based on Taylor Environmental’s August 16,

2018, Closure Assessment for Replacement of Dispenser Sump. (Doc. 57-14,




5 It also appears that the project manager had the incorrect email address for

L. Squared’s principals—spelling their name with two Ls instead of one.
(Doc. 57-13, pg. 1).

                                     –12–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 24 of 65



pg. 1; Doc. 57-23, pg. 155:3–10). In the letter, the successor project manager

advised that, due to the presence of the EDI discharge:

            Further determination will be required to establish if
            the contamination documented in the August 16,
            2018 Closure Assessment for Replacement of Dis-
            penser Sump (Report) and submitted by Taylor En-
            vironmental Consulting may be eligible or partially
            eligible for cleanup funding from the Inland Protec-
            tion Trust Fund under the Early Detection Incentive
            Program.”

(Doc. 57-14, pg. 2). FDEP acknowledged that, because there was pre-existing

contamination at the site, L. Squared would clean up “[. . .] no more than the

new discharge,” and FDEP would remain responsible to clean up “[. . .] no

more than the existing eligible contamination [. . .].” (Doc. 57-14, pgs. 1–2).

A couple weeks prior, Taylor Environmental conducted soil and groundwa-

ter sampling around the STP sump, and found some petroleum impacts, but

advised that it was unclear whether they were the result of a new release or

the 1985 Discharge. (Doc. 57-13, pg. 1). Taylor Environmental forwarded its

report to FDEP on April 16, 2019. (Doc. 57-13, pg. 1) (“In addition, we per-

formed the soil and groundwater sampling around the STP sump on

4/15/19, which was requested in the April 19, 2018, Warning Letter. Petro-

leum impacts were found, but it’s unclear at this time if it is from a new



                                     –13–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 25 of 65



release or the former release that is EDI eligible. I will forward that to you

shortly.”).

      L. Squared’s Claim. Herbie Wiles Insurance, Inc. completed a Liability

Notice of Occurrence/Claim on behalf of L. Squared on or about April 19,

2019, stating that there appeared to be some new contamination at a dis-

penser sump. (Doc. 57-15). Thereafter, Taylor Environmental drafted a Com-

ment Response/Limited Closure Assessment Report Addendum and Spill

Bucket Closure Assessment Report (“Comment Response”) dated June 4,

2019. (Doc. 57-18). The Comment Response was the first report which con-

firmed a new discharge from a covered storage tank system. (Doc. 57-18, pg.

6).

      L. Squared’s Continued Assessment & Remediation. During the pen-

dency of the claim and litigation, L. Squared continued to work with FDEP

to allocate liability for the two releases through assessment, and to assess

and remediate the second release. (Doc. 49-16; Doc. 49-18; Doc. 57-20; Doc.

61-10; Doc. 61-13). These efforts were successful as FDEP issued a Site Reha-

bilitation Completion Order. (Doc. 49-21).

      The Nautilus Insurance Policy. On July 16, 2018, L Squared submitted

its application for insurance coverage to Nautilus or its agents. (Doc. 57-3).

                                    –14–
USCA11 Case: 23-13031      Document: 14      Date Filed: 11/29/2023   Page: 26 of 65



In response to a question in the application inquiring as to whether there had

been any pollution claims for cleanup costs made against it, L. Squared re-

plied “no,” but advised that it had received the “Warning Letter.” (Doc. 57-

3, Pg. 12). Elsewhere in the application, L. Squared advised that its storage

tank site was in the process of being tested and that it would forward the

results once received. (Doc. 57-3, pg. 13). Nautilus did not ask for additional

information, but conducted underwriting based on the application and is-

sued and delivered to L. Squared TankAdvantage Pollution Liability Policy

Number CST2026735-10 (“the Policy”). (Doc. 57-4). The “Policy Period” un-

der the Policy was July 18, 2018, to July 18, 2019, with a “Retroactive Date”

of July 18, 2013. (Doc. 57-4, pgs. 7, 25).

      According to the Schedule of Covered Location(s) and Covered Stor-

age Tank System(s) in the Policy, L. Squared’s Exxon gas station in St. Au-

gustine is the covered location as defined in Section IX.7 of the Policy, the

20,000 gallon underground storage tank at the facility is the Covered Storage

Tank System as defined by Section IX.8 of the Policy.

      With respect to coverage for cleanup costs, the Policy states as follows:




                                       –15–
USCA11 Case: 23-13031   Document: 14   Date Filed: 11/29/2023   Page: 27 of 65



          I.    INSURING AGREEMENT

          COVERAGE A – COVERED STORAGE TANK
          SYSTEM CLEANUP COSTS

          1.    We will pay on behalf of the insured those
                sums the insured becomes legally obligated to
                pay as damages because of cleanup costs in ex-
                cess of the deductible, if any, resulting from
                pollution conditions on, at or under the cov-
                ered location(s) listed in the Declarations
                and/or in the Schedule of Covered Location(s)
                and Covered Storage Tank System(s) endorse-
                ment attached to this policy which result from
                a release of contents from any covered storage
                tank system(s), provided that the pollution
                conditions are first discovered during the pol-
                icy period and reported to us in writing, dur-
                ing the policy period or Extended Reporting
                Period, if applicable. Such pollution conditions
                must commence on or after the Retroactive
                Date set forth in the Declarations and/or the
                Schedule of Covered Location(s) and Covered
                Storage Tank System(s) endorsement attached
                to this policy.

          2.    We will pay on behalf of the insured those
                sums the insured becomes legally obligated to
                pay as damages because of cleanup costs in ex-
                cess of the deductible, if any, resulting from
                pollution conditions emanating from the cov-
                ered location(s) listed in the Declarations
                and/or in the Schedule of Covered Location(s)
                and Covered Storage Tank System(s) endorse-
                ment attached to this policy which result from
                a release of contents from any covered storage
                tank system(s), provided that the pollution


                                  –16–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 28 of 65



                  conditions are first discovered during the pol-
                  icy period and reported to us in writing, dur-
                  ing the policy period or Extended Reporting
                  Period, if applicable. Such pollution conditions
                  must commence on or after the Retroactive
                  Date set forth in the Declarations and/or the
                  Schedule of Covered Location(s) and Covered
                  Storage Tank System(s) endorsement attached
                  to this policy.

            COVERAGE E – DEFENSE

            We will pay on behalf of the insured those costs to
            defend a claim or suit for bodily injury, property
            damage or cleanup costs to which this insurance ap-
            plies. We will have no duty to defend the insured
            against any claim or suit for bodily injury, property
            damage or cleanup costs to which this policy does
            not apply. Our duty to defend or continue defending
            any such claims or suits and to pay any bodily injury,
            property damage, cleanup costs or defense costs,
            charges and/or expenses, shall cease once the appli-
            cable Limit of Liability, as described in the Declara-
            tions and Section IV. Limits of Liability, has been ex-
            hausted.

(Doc. 57-4, pgs. 10–11). In addition to not covering pollution conditions that

commenced prior to the Retroactive Date, the Policy expressly excludes from

coverage “Known Pollution Conditions,” which it defines as “Pollution con-

ditions known to exist prior to the inception of this policy by any insured.”

(Doc. 57-4, pg. 13).




                                     –17–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 29 of 65



     The following relevant definitions in the Policy are incorporated into

the coverage for Covered Storage Tank System Cleanup Costs:

          IX.   DEFINITIONS

                5.      Claim, Claims, or Claimed

                        Means a written demand received by an
                        insured seeking a remedy and alleging li-
                        ability or responsibility on the part of the
                        insured for bodily injury, property dam-
                        age, and/or cleanup costs.

                7.      Covered Location(s)

                        Means any location(s) listed in the Decla-
                        rations and/or listed within the Schedule
                        of Covered Location(s) and Covered
                        Storage Tank System(s) endorsement.

                8.      Covered Storage Tank System(s)

                        Means any above ground storage tank or
                        underground storage tank listed in the
                        Declarations and/or listed within the
                        Schedule of Covered Location(s) and
                        Covered Storage Tank System(s) en-
                        dorsement.

                14.     Pollution Condition(s)

                        Means the discharge, dispersal, release,
                        seepage, migration, or escape of any
                        solid, liquid, gaseous or thermal irritant
                        or contaminant, including smoke, vapor,
                        soot, fumes, acids, alkalis, chemicals and

                                     –18–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 30 of 65



                        waste into or upon land, or any structure
                        on land, the atmosphere or any water-
                        course or body of water, including
                        groundwater. Waste includes materials
                        to be recycled, reconditioned or re-
                        claimed.

                16.     Release

                        Means the discharge, dispersal, or escape
                        of any solid, liquid, gaseous or thermal
                        irritant, contamination or pollutant, in-
                        cluding smoke, vapor, soot, fumes, acids,
                        alkalis, chemicals and waste from a cov-
                        ered location(s) and/or covered storage
                        tank system(s) into groundwater, surface
                        water, or surface or subsurface soils,
                        which a pollution condition has been in-
                        vestigated and confirmed by or on behalf
                        of an insured, utilizing a system tight-
                        ness check, site check or other procedure
                        approved by the Federal Environmental
                        Protection Agency or a state or local
                        agency having jurisdiction over the cov-
                        ered location(s) and/or covered storage
                        tank system(s) and in accordance with 40
                        Code of Federal Regulations 280.52 or
                        any other applicable federal or state reg-
                        ulation or state statute.

                18.     Storage tank system(s)

                        Means any tank(s) including any con-
                        nected piping and equipment attached
                        thereto.

                20.     Underground Storage Tank

                                    –19–
USCA11 Case: 23-13031        Document: 14   Date Filed: 11/29/2023   Page: 31 of 65




                           Means any tank with associated piping
                           and equipment connected thereto which
                           has more than ten (10) percent of its vol-
                           ume below ground and would otherwise
                           not be defined as an above ground stor-
                           age tank by federal or state law.

(Doc. 57-4, pgs. 22–24).

      Additionally, the Policy outlines when and under what circumstances

an insured must provide notice to Nautilus. It states:

            VI. REPORTING OF A POLLUTION CONDI-
            TION, CLAIM OR SUIT

            1.   You must see to it that we are notified as soon as
                 reasonably possible, but in any event, not more
                 than seven (7) days after the insured first became
                 aware of, or should have become aware of a pol-
                 lution condition which may result in a claim or
                 any action or proceeding to impose an obliga-
                 tion on the insured for cleanup costs. Notice
                 should include:

                 (a) How, when and where the pollution condi-
                     tion took place;

                 (b) The names and addresses of any injured
                     persons and witnesses; and

                 (c) The nature and location of any injury or
                     damage arising out of the pollution condi-
                     tion.

(Doc. 57-4, pg. 19) (emphasis in original).


                                       –20–
USCA11 Case: 23-13031     Document: 14       Date Filed: 11/29/2023   Page: 32 of 65




      Nautilus Denies L. Squared’s Claim. Nautilus replied to L. Squared

with a position statement dated June 12, 2019, denying the claim. (Doc. 57-

16). Specifically, Nautilus claimed that NDN had discovered the pollution

conditions in 2017—which was prior to the Policy Period, and which ren-

dered it excluded as a “Known Pollution Condition.” (Doc. 57-16, pg. 6). Im-

portantly, Nautilus did not deny the claim based on any alleged untimeli-

ness of L. Squared’s reporting of “pollution conditions.” (Doc. 57-16).

      The Lawsuit. On October 1, 2021, L. Squared filed suit in the Circuit

Court for the Seventh Judicial Circuit, in and for St. Johns County, Florida,

seeking a declaration of its rights under the Policy and for breach of contract.

(Doc. 1-2, pg. 5–21). On November 1, 2021, Nautilus filed a Notice of Re-

moval in the United States District Court for the Middle District of Florida,

based on diversity jurisdiction. (Doc. 1).

      On December 3, 2021, Nautilus filed its Answer and Affirmative De-

fenses. (Doc. 12). Nautilus’ 17 affirmative defenses included its claim that

there is no coverage under the policy because the “’pollution condition’ was

not ‘first discovered’ during the policy period”; coverage is barred under the

Policy’s “Known Pollution Conditions” exclusion; there “is no coverage to



                                     –21–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 33 of 65



the extent that the Policy is void based on material representations by [L.

Squared] in its insurance policy application”; and there is no coverage be-

cause L. Squared breached certain provisions under the Policy, like prompt

reporting, prompt notice, and assistance and cooperation. (Doc. 12, pg. 8–9).

      After conducting extensive discovery, the parties filed cross motions

for summary judgment. (Doc. 51; Doc. 57). In its motion, L. Squared argued,

inter alia, that Nautilus is liable to pay its “cleanup costs” under the Policy

because, contrary to Nautilus’ claims, L. Squared did not “first discover” the

pollution conditions that are the subject of the claim until it investigated and

confirmed that the pollution conditions were the result of a “release” from a

“covered storage tank system(s),” which occurred in June 2019. (Doc. 57, pgs.

16–22). Specifically, L. Squared argued that the terms of the Policy requred

it to investigate and confirm that the pollution conditions were the result of

a new discharge, and not the 1985 Discharge, which was clearly excluded.

(Doc. 57, pgs. 16–22). Alternatively, L. Squared argued that the policy terms

were ambiguous and that such ambiguity should be resolved in its favor.

(Doc. 57, pgs. 22–24).

      L. Squared reasoned that “first discovered,” as used in the Policy, had

to mean when it first confirmed that the contamination was not the result of

                                     –22–
USCA11 Case: 23-13031    Document: 14   Date Filed: 11/29/2023   Page: 34 of 65



the 1985 Discharge, but rather, a new release from a covered storage tank

system. (Doc. 57, pg. 20). Otherwise, every time there is a sampling event to

assess the 1985 Discharge, there is a “discovery” of a “pollution condition,”

albeit not a “first discovery,” and L. Squared—along with every other

insured with pre-existing “pollution conditions” that would not be covered

under a policy—would have to report the discovery just in case it was

unknowingly making the “first” discovery of a “new discharge.” (Doc. 57,

pg. 21). L. Squared also sought summary judgment on its entitlement to its

Defense Costs under Coverage E in the Policy. (Doc. 57, pgs. 25–8; Doc. 57-

4, pg. 11).

      In its motion for summary judgment, Nautilus argued that there was

no coverage because L. Squared “first discovered” the pollution conditions

in July 2017, which was not during the policy period and which rendered

the pollution conditions “Known Pollution Conditions.” (Doc. 51).

Additionally, Nautilus argued that L. Squared had breached the 7-Day

Notice Provision in the Policy, which, it claimed, required L. Squared to

report the “pollution conditions” to Nautilus within 7 days of when it “first

became aware of, or should have become aware of a pollution condition which

may result in a claim, or any action or proceeding to impose an obligation on

                                    –23–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 35 of 65



the insured for cleanup costs,” which it claimed was August 2018 when L.

Squared received the report from Taylor Environmental. (Doc. 51, pgs. 22–

23) (emphasis in original). Thereafter, both parties filed responses to the

other’s respective motions for summary judgment, (Doc. 65; Doc. 66), and

replies to the other’s respective responses, (Doc. 76; Doc. 77).

      On June 23, 2023, the District Court entered an order granting Nauti-

lus’ motion for summary judgment and denying L. Squared’s. (Doc. 89). In

the order, the District Court agreed with Nautilus, holding that the phrase

“first discovered” is not ambiguous and that it means when L. Squared “first

became aware of, or should have become aware of a pollution condition,”

which the District Court reasoned was July 2017 when L. Squared took “cor-

rective action” in response to a directive by FDEP. (Doc. 89, pg. 16) (empha-

sis added). The District Court was persuaded that L. Squared had admitted

to first discovering the pollution conditions in July 2017 when it identified

the “date of discovery” as such in the Discharge Reporting Form it submitted

to FDEP. (Doc. 89, pgs. 16–17). And, since July 2017 is before the effective

date of the policy, also making it a “Known Pollution Condition,” Nautilus

was not liable to pay L. Squared’s cleanup costs. (Doc. 89, pg. 17). The Dis-




                                     –24–
USCA11 Case: 23-13031      Document: 14   Date Filed: 11/29/2023   Page: 36 of 65



trict Court rejected L. Squared’s argument that its duty to report the pollu-

tion conditions was not triggered until April 2019 when the contamination

was confirmed to result from a “new discharge,” or when FDEP first re-

quired site assessment by letter dated April 16, 2019. (Doc. 57-14; Doc. 89,

pgs. 18–19). The Court held that it did not matter whether the contamination

was from the 1985 Discharge or a new release because the Policy required L.

Squared to report the discovery of [any] pollution conditions “which may

result in a claim” even if the “pollution conditions” were pre-existing and

not the subject of a claim. (Doc. 89, pgs. 18–19). On June 27, 2023, the District

Court entered a Final Judgment in favor of Nautilus. (Doc. 90).6

      On July 21, 2023, L. Squared moved for reconsideration in accordance

with Federal Rule of Civil Procedure 59(e) and 60(a)(6), arguing that the Dis-

trict Court had misconstrued the Policy. (Doc. 93). Nautilus filed its response

in opposition on August 11, 2023. (Doc. 99). And, on August 29, 2023, the




6 Though rendered moot by the District Court’s approval of Nautilus’ cover-

age denial, the District Court also denied L. Squared’s request for summary
judgment on the choice-of-law issue; specifically, the Policy contains a New
York choice-of-law provision which, L. Squared argued, is prohibited under
Florida Administrative Code Rule 62-761.420(7).


                                      –25–
USCA11 Case: 23-13031      Document: 14   Date Filed: 11/29/2023   Page: 37 of 65



District Court entered an order denying L. Squared’s motion for reconsider-

ation. (Doc. 101). On September 15, 2023, L. Squared filed a notice of appeal

to this Court seeking review of both the order granting summary judgment

for Nautilus, and the order denying L. Squared’s motion for reconsideration.

(Doc. 102).

                       S UMMARY OF THE A RGUMENT

      This case involves a simple matter of contract interpretation—more

precisely, an insurance policy—and really only the interpretation of two

phrases in the Policy—“pollution conditions” and “first discovered.” The

Policy only covers “pollution conditions” that are the result of a release from

a covered storage tank system that commenced after the Policy’s Retroactive

Date (July 18, 2013), so long as L. Squared “first discovered” the release and

reported it to Nautilus during the policy period (July 18, 2018 through July

18, 2019). The Policy also expressly excludes “Known Pollution Conditions”;

i.e., those known to exist prior to the inception of the Policy.




                                      –26–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 38 of 65



       Pollution Conditions                     Pollution Conditions
(Resulting from the 1985 Discharge)        (Resulting form a new discharge
                                           from a covered storage tank sys-
                                                         tem)

           Not Covered                                  Covered
     (under any circumstances)           (if commenced after the Retroactive
                                           Date, and first discovered and re-
                                          ported to Nautilus during the pol-
                                                      icy period)

Simple enough. But, a problem arises when a covered storage tank system is

located in an area known to have been polluted by the 1985 Discharge. If

contamination is detected, does the Policy cover any resulting cleanup costs?

The only way to know is by investigating and confirming the source of the

contamination. It just so happens that is precisely what the Policy requires.

     The Policy only covers “pollution conditions” that are the result of a

“release” from a covered storage tank system. Under the Policy, a “release”

is a discharge from a covered storage tank system where the “pollution con-

dition” has been investigated and confirmed using government-sanctioned

means.

     In this case, L. Squared detected contamination in 2017 in an area

known to have been polluted by the 1985 Discharge where a covered storage




                                    –27–
USCA11 Case: 23-13031       Document: 14   Date Filed: 11/29/2023   Page: 39 of 65



tank system had been installed. As required by the Policy, L. Squared inves-

tigated and, in April 2019 confirmed that the contamination was the result

of a release from a covered storage tank system. Upon receiving confirma-

tion, L. Squared promptly notified Nautilus and filed a claim.

         Nautilus denied the claim because, in its view, L. Squared should have

notified it in 2017 when the contamination was detected even though all in-

dications, including the opinions of L. Squared’s contractors, suggested that

the contamination was the result of the 1985 Discharge and, thus, not cov-

ered. The District Court agreed and found that L. Squared’s notice of claim

was untimely, that the “pollution condition” was “first discovered” prior to

the Policy’s inception date, thereby making it a “Known Pollution Condi-

tion.”

         L. Squared contends that the District Court misconstrued the Policy by

adopting an interpretation of “first discovered” that is contrary to its plain

and ordinary meaning, and that makes little sense in the context of the Pol-

icy. Additionally, at a minimum, the phrase is ambiguous and any ambigu-

ity should have been resolved in favor of L. Squared and finding coverage.

Furthermore, even if L. Squared’s notice of claim was untimely, coverage

may only be denied if Nautilus was prejudiced—which it failed to plead or

                                      –28–
USCA11 Case: 23-13031       Document: 14    Date Filed: 11/29/2023   Page: 40 of 65



argue at summary judgment. Moreover, several of the District Court’s find-

ings are clearly erroneous or involve genuinely disputed issues of material

fact. For these reasons, as outlined in greater detail below, this Court should

reverse the Final Judgment.

                            S TANDARD OF R EVIEW

      In this appeal, L. Squared seeks review of an order granting the motion

for summary judgment filed by Nautilus, and denying the motion for sum-

mary judgment filed by L. Squared. This Court reviews de novo the District

Court’s grant or denial of summary judgment, and reviews its findings of

fact for clear error. Carithers v. Mid-Continent Cas. Co., 782 F. 3d 1240, 1245

(11th Cir. 2015) (citing Cagle v. Bruner, 112 F. 3d 1510, 1514 (11th Cir. 1997));

Levinson v. Reliance Stand. Life Ins. Co., 245 F. 3d 1321, 1325 (11th Cir. 2001).

      Furthermore, contract interpretation is subject to the same de novo re-

view. Am. Cas. Co. v. Etowah Bank, 288 F. 3d 1282, 1285 (11th Cir. 2002). Be-

cause insurance policies are considered contracts, “[i]nterpretation of insur-

ance policy language is [also] a matter of law, subject to de novo re-

view.” Graber v. Clarendon Nat'l Ins. Co., 819 So. 2d 840, 842 (Fla. Dist. Ct.

App. 2002) (citing Coleman v. Fla. Ins. Guar. Ass'n, 517 So. 2d 686 (Fla.

1988)); see also Mich. Millers Mut. Ins. Corp. v. Benfield, 140 F. 3d 915, 924 (11th

                                       –29–
USCA11 Case: 23-13031    Document: 14   Date Filed: 11/29/2023   Page: 41 of 65



Cir. 1998). Moreover, in cases where insurance contract language “is suscep-

tible to more than one reasonable interpretation, one providing coverage and

the other limiting coverage,” “courts should resolve the ambiguity in favor

of the insured by adopting the reasonable interpretation of the policy’s lan-

guage that provides coverage, rather than the competing interpretation that

does not.” Travelers Indem. Co. v. PCR Inc., 889 So. 2d 779, 785–86 (Fla.

2004) (internal quotation marks and citations omitted).

                                A RGUMENT

    I.   The District Court erred in granting summary judgment for Nau-
         tilus and denying summary judgment for L. Squared; therefore,
         this Court should reverse the Final Judgment.

                               Introduction

     This matter should be straightforward. L. Squared purchased an insur-

ance policy that covers cleanup and defense costs resulting from post-Retro-

active Date pollution conditions in or around a covered area and confirmed

during the policy period to have come from a covered storage tank system.

Unfortunately, this case is complicated by the presence of pre-existing con-

tamination that is already being remediated under a state-funded program.

There is no dispute that this pre-existing contamination is not covered under




                                    –30–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 42 of 65



the Policy, nor is L. Squared responsible for its remediation. Indeed, no in-

surer would cover costs for contamination discovered more than 35 years

ago. As stated above, 40 C.F.R. 280.97 requires insurance coverage for “acci-

dental releases,” not “pollution conditions.”

      The seeds of the complication in this case began in 2017 when petro-

leum constituents were detected in an area known to have been polluted by

the pre-existing contamination. Notwithstanding that the substances were

detected when the state directed the repair of cracked boots—a condition not

known to result in leaks—there was every reason to believe that the pre-

existing contamination was the source. Not only did the FDEP inspector say

so, but contractors hired by L. Squared expressed that view, and the state

just wanted to know one way or another. L. Squared moved forward with

this investigation and corrective action, the costs for which it sought to re-

ceive as Defense Costs under the Policy.

      So, in consultation with, and under the direction of, the state, L.

Squared endeavored to discover whether the source of the petroleum con-

stituents was the pre-existing contamination or a new discharge. In April

2019, after multiple rounds of testing, L. Squared finally received confirma-




                                    –31–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 43 of 65



tion from its contractor that the source was, indeed, a new discharge. Inter-

estingly, it was not until months later that the state agreed. Accordingly, L.

Squared submitted a Liability Notice of Occurrence/Claim to Nautilus seek-

ing coverage for its cleanup and defense costs. This dispute arose because

Nautilus denied coverage, claiming that “pollution conditions” were “first

discovered” prior to the inception of the policy.

      In granting summary judgment for Nautilus, the District Court found

that L. Squared “first discovered” the pollution conditions in 2017—making

its 2019 notice to Nautilus untimely. By that rationale, every assessment by

FDEP of the 1985 Discharge would be a “discovery” of pollution conditions.

If we say pollution conditions were “first discovered” in 1985, then it would

take the discovery of a new release to constitute “first discovery” of pollution

conditions. Even though L. Squared had not yet confirmed that the source of

the petroleum constituents was a covered storage tank system, and not the

pre-existing contamination that everyone believed it to be, the Court held

that L. Squared had a duty to report the detection to Nautilus within seven

days. Having failed to do so, the Court concluded that the insurance policy

did not cover the pollution conditions and, thus, Nautilus is entitled to judg-

ment as a matter of law. L. Squared contends that this was error because,

                                     –32–
USCA11 Case: 23-13031      Document: 14   Date Filed: 11/29/2023   Page: 44 of 65



under the plain language of the Policy, “first discovered” means when, after

investigation and confirmation, L. Squared learned that the pollution condi-

tions were the result of a new discharge.

         A.    The District Court misconstrued the Policy.

      The District Court misconstrued the Policy. Under Florida law,7 courts

must construe an insurance policy in its entirety, striving to give every pro-

vision meaning and effect. Excelsior Ins. Co. v. Pomona Park Bar & Package

Store, 369 So. 2d 938, 941 (Fla. 1979). In interpreting insurance policies, Flor-

ida courts start with the plain language of the policy as bargained for by the

parties. If that language is unambiguous, it governs. However, if the relevant

policy language is susceptible to more than one reasonable interpretation,

one providing coverage and the other limiting coverage, the insurance pol-

icy is considered ambiguous, and must be interpreted liberally in favor of

the insured and strictly against the insurer. Id. (quoting Auto-Owners Ins. Co.

v. Anderson, 756 So. 2d 29, 34 (Fla. 2000)) (internal quotation marks omitted).




7 See State Farm Fire and Cas. Co. v. Steinberg, 393 F. 3d 1226, 1230 (11th Cir.

2004) (stating “[b]ecause federal jurisdiction over this matter is based on di-
versity, Florida law governs the determination of the issues on this ap-
peal.”).


                                      –33–
USCA11 Case: 23-13031      Document: 14    Date Filed: 11/29/2023   Page: 45 of 65



                    The District Court’s interpretation of “first discovered”
                    does not comport with the term’s plain and ordinary
                    meaning.

      The District Court’s interpretation of “first discovered” does not com-

port with the term’s plain and ordinary meaning within the context of Cov-

erage A. In the Order, the District Court found that L. Squared “first discov-

ered” the “pollution conditions” in 2017 and that the Policy required L.

Squared to report the pollution conditions at that point even though the

source of the contamination—or the actual existence of a release for that mat-

ter– had not yet been determined and was, in fact, presumed to have been

the pre-existing contamination. This interpretation and application are con-

trary to the plain and ordinary meaning of the phrase “first discovered.”

      Setting aside the word “first,” one cannot “discover” a previously

known pre-existing contamination. “Discover” means: (1) to make known or

visible : EXPOSE; (2) to obtain sight or knowledge of for the first time : FIND;

or (3) find out. https://www.merriam-webster.com/dictionary/discover

(last visited July 19, 2023). So, it is impossible to “discover” pre-existing con-

tamination that was well known to all parties involved; and it certainly is

impossible to “first discover” a pre-existing contamination that was initially

discovered over 35 years ago. So, contrary to the District Court’s finding, the


                                      –34–
USCA11 Case: 23-13031      Document: 14   Date Filed: 11/29/2023   Page: 46 of 65



term “first discovered” can only refer to newly objectively discovered dis-

charges; i.e., those that result from a release from a covered storage tank sys-

tem. Indeed, unlike the District Court’s interpretation, this interpretation is

in line with the rest of the Policy’s provisions.

                    Within the context of the Policy, the plain and ordinary
                    meaning of the phrase “first discovered” means when,
                    after investigation and confirmation, L. Squared
                    learned that the pollution conditions were the result of
                    a new discharge.

      Within the context of the Policy, the plain and ordinary meaning of the

phrase “first discovered” means when, after investigation and conformation,

L. Squared learned that the pollution conditions were the result of a new

discharge. Coverage A of the Policy identifies what is and what is not cov-

ered under the Policy. It provides:

            COVERAGE A — COVERED STORAGE TANK
            SYSTEM CLEANUP COSTS

            1.   We will pay on behalf of the insured those sums
                 the insured becomes legally obligated to pay as
                 damages because of cleanup costs in excess of
                 the deductible, if any, resulting from pollution
                 conditions on, at or under the covered loca-
                 tion(s) listed in the Declarations and/or in the
                 Schedule of Covered Location(s) and Covered
                 Storage Tank System(s) endorsement attached to
                 this policy which result from a release of con-
                 tents from any covered storage tank system(s),


                                      –35–
USCA11 Case: 23-13031    Document: 14   Date Filed: 11/29/2023   Page: 47 of 65



               provided that the pollution conditions are first
               discovered during the policy period and re-
               ported to us in writing, during the policy pe-
               riod or Extended Reporting Period, if applica-
               ble. Such pollution conditions must commence
               on or after the Retroactive Date set forth in the
               Declarations and/or the Schedule of Covered
               Location(s) and Covered Storage Tank System(s)
               endorsement attached to this policy.

(Doc. 57-4, pg. 10) (emphasis added).

     The Policy defines certain terms used in Coverage A that are crucial in

understanding its plain language.8 See generally (Doc. 54-7, pgs. 22–24). For

example, under the Policy:

           “Pollution Condition(s)” means the discharge, dis-
           persal, release, seepage, migration, or escape of any
           solid, liquid, gaseous or thermal irritant or contami-
           nant, including smoke, vapor, soot, fumes, acids, al-
           kalis, chemicals and waste into or upon land, or any
           structure on land, the atmosphere or any water-
           course or body of water, including groundwater.
           Waste includes materials to be recycled, recondi-
           tioned, or reclaimed. (Doc. 57-4, pg. 23) (emphasis in
           original).

8 “Covered Location(s)” means any location(s) listed on the Declarations

and/or listed within the Schedule of Covered Location(s) and Covered Stor-
age Tank System(s) endorsement. (Doc. 57-4, pg. 23). “Covered Storage Tank
System(s)” means any above ground storage tank or underground storage
tank listed in the Declarations and/or listed within the Schedule of Covered
Location(s) and Covered Storage Tank System(s) endorsement. (Doc. 57-4,
pg. 23).


                                    –36–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 48 of 65




           “Release” means the discharge, dispersal, or escape
           of any solid, liquid, gaseous or thermal irritant, con-
           tamination or pollutant, . . . , from a covered loca-
           tion(s) and/or covered storage tank system(s) into
           groundwater, surface water or subsurface soils,
           which a pollution condition has been investigated
           and confirmed by or on behalf of an insured, utiliz-
           ing a system tightness check, site check or other pro-
           cedure approved by the Federal Environmental Pro-
           tection Agency or a state or local agency having ju-
           risdiction over the covered location(s) and/or cov-
           ered storage tank system(s) . . . . (Doc. 57-4, pg. 24)
           (emphasis added).

     Accordingly, to be covered under the Policy, the “pollution condi-

tions” must:

      Be “on, at or under” the listed “covered location(s)”;

      Result from the “release” of contents from any “covered storage
       tank system(s) that has investigated and confirmed using state-
       sanctioned methods;

      Be “first discovered” during the policy period;

      Be reported to Nautilus during the policy period or the Extended
       Reporting Period, if applicable; and

      Commence on or after the Retroactive Date set forth in the Policy.

     The Policy does not define “first discovered.” However, as explained

above, the phrase can only mean newly objectively discovered discharges;

i.e., those that result from a new release from a covered storage tank system.



                                    –37–
USCA11 Case: 23-13031     Document: 14     Date Filed: 11/29/2023   Page: 49 of 65



Furthermore, the Policy expressly excludes from coverage “Known Pollu-

tion Conditions,” which are defined as “[p]ollution conditions known to ex-

ist prior to the inception of this policy by any insured.” (Doc. 57-4, pg. 13).

This definition further supports the conclusion that “first discovered” means

confirmation of a new release from a covered storage tank system; after all,

one cannot discover a known pollution condition and, even if one could, it

would be expressly excluded under the Policy. In short, “pollution condi-

tions” are “first discovered” when their source has been investigated and

confirmed to be a release from a covered storage tank system. It should be

noted that while Coverage A of the Policy purports to cover “pollution con-

ditions,” the true issue is whether a release occurred. Recall that 40 C.F.R.

280.97 requires these policies to cover accidental “releases,” and it even re-

quires insurers to certify that they do.

                    L. Squared first discovered and timely reported the pol-
                    lution condition in April 2019 once its source was con-
                    firmed to be a new discharge from a covered storage
                    tank system.

      L. Squared first discovered and timely reported the pollution condi-

tion in April 2019 once its source was confirmed to be a new discharge from

a covered storage tank system. As explained above, Coverage A requires the



                                     –38–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 50 of 65



pollution condition be first discovered during the policy period and reported

to Nautilus in writing, during the policy period or Extended Reporting Pe-

riod in order for any claimed cleanup costs to be covered. (Doc. 57-4, pg. 10).

      Here, the earliest it may be said that L. Squared “first discovered” the

pollution condition is April 2019, when Taylor Environmental conducted an

additional closure assessment and determined that there appeared to be a

“new release.” (Doc. 57-18, pgs. 5–6). Taylor Environmental reported the

new discharge to FDEP in a Discharge Report Form submitted on April 16,

2019. (Doc. 57-18, pg. 6). Three days later, on April 19, 2019, L. Squared re-

ported the pollution condition to Nautilus. (Doc. 57-15).9 Since both the dis-

covery and the reporting occurred during the policy period—July 18, 2018

to July 18, 2019—Nautilus is liable to pay L. Squared’s cleanup costs in ac-

cordance with the Policy. (Doc. 57-4). Accordingly, the District Court erred




9 Taylor Environmental confirmed that the pollution condition emanated

from a new discharge from a covered storage tank system in its Comment
Response/Limited Closure Assessment Report Addendum and Spill Bucket
Closure Assessment Report (“Comment Response”) dated June 4, 2019. See
(Doc. 57-18, pg. 5-6) (“The March 13, 2017 Source Removal Report document
that all petroleum-impacted soil present in and around the former UST area
was removed; therefore, this appears to be a new release, which was re-
ported in the April 16, 2019 DRF.”).


                                     –39–
USCA11 Case: 23-13031       Document: 14   Date Filed: 11/29/2023   Page: 51 of 65



in concluding that that Nautilus was not liable based on L. Squared’s pur-

ported untimely notice.10

         B.    At a minimum, the phrase “first discovered” as used in the
               Policy is ambiguous and any ambiguity should have been
               resolved in favor of L. Squared and providing coverage.

      At a minimum, the phrase “first discovered” as used in the Policy is

ambiguous and any ambiguity should have been resolved in favor of L.

Squared and providing coverage. Generally, if the relevant policy language

is susceptible to more than one reasonable interpretation, one providing cov-

erage and the other limiting coverage, the insurance policy is considered am-

biguous, and must be interpreted liberally in favor of the insured and strictly

against the insurer. Excelsior Ins. Co. v. Pomona Park Bar & Package Store, 369

So. 2d 938, 941 (Fla. 1979) (quoting Auto-Owners Ins. Co. v. Anderson, 756 So.




10 The Policy also requires that the pollution condition commence on or after

the Policy’s Retroactive Date in order for Nautilus to be liable for L.
Squared’s cleanup costs. (Doc. 57-4, pg. 10). There is no dispute that the pol-
lution conditions at issue in this case commenced on or after the Policy’s July
18, 2013 Retroactive Date. (Doc. 57-4, pg. 25). The undisputed evidence es-
tablished that “[i]t is more likely than not that the ‘new’ discharge occurred
after July 18, 2013, and most likely between May 13, 2015, when an FDEP
inspection did not indicate any relevant issues with the storage tank sys-
tem[,] and August 25, 2017, when Guardian replaced the dispenser and tank
sump boots.” (Doc. 57-19, pg. 4).


                                      –40–
USCA11 Case: 23-13031       Document: 14     Date Filed: 11/29/2023   Page: 52 of 65



2d 29, 34 (Fla. 2000)) (internal quotation marks omitted). See also Herring v.

First S. Ins. Co., 522 So. 2d 1066, 1068 (Fla. 1st DCA 1988); Ideal Mut. Ins. Co.

v. C.D.I. Constr., Inc., 640 F. 2d 654, 657 (5th Cir. 1981) (holding that an insur-

ance policy is ambiguous if it is susceptible to two or more reasonable inter-

pretations that can fairly be made).

      In this case, L. Squared contends that the only reasonable interpreta-

tion of “first discovered” under the policy can only refer to newly objectively

discovered discharges; i.e., those that result from a release from a covered

storage tank system, which, after all, is what the Policy is required to cover

under 40 C.F.R. 280.97. Indeed, the plain meaning of “first discovered”

simply cannot apply to the detection of pre-existing pollution conditions like

the 1985 Discharge, and a correct reading of the entire Policy supports this

interpretation. Excelsior Ins. Co. v. Pomona Park Bar & Package Store, 369 So. 2d

938, 941 (Fla. 1979) (quoting Auto-Owners Ins. Co. v. Anderson, 756 So. 2d 29,

34 (Fla. 2000)) (internal quotation marks omitted); Herring v. First S. Ins.

Co., 522 So. 2d 1066, 1068 (Fla. 1st DCA 1988); Ideal Mut. Ins. Co. v. C.D.I. Con-

str., Inc., 640 F. 2d 654, 657 (5th Cir. 1981).




                                        –41–
USCA11 Case: 23-13031     Document: 14     Date Filed: 11/29/2023   Page: 53 of 65



      However, assuming arguendo that the District Court’s interpretation—

that “first discovered” means first detected, irrespective of whether the pol-

lution condition was the result of the 1985 Discharge or a new discharge—is

reasonable, then the phrase “first discovered” is ambiguous and, as such, the

ambiguity should have been resolved in favor of L. Squared and finding cov-

erage. Therefore, it was error for the District Court to hold that Nautilus was

entitled to judgment as a matter of law.

         C.    The District Court erred in finding that a failure the notify
               Nautilus of the pollution condition within seven (7) days
               resulted in the denial of coverage.

      The District Court erred in finding that a failure to notify Nautilus of

the pollution condition within seven (7) days resulted in a lack of coverage.

In Florida, notice is a condition precedent to coverage, and an insured’s fail-

ure to provide “timely notice of loss in contravention of a policy provision is

a legal basis for the denial of recovery under the policy.” Ideal Mut. Ins. Co.

v. Waldrep, 400 So. 2d 782, 785 (Fla. 3d DCA 1981). If an insured’s notice is

untimely, prejudice to the insurer is presumed; however, this presumption

is rebuttable provided that the insured can demonstrate that no prejudice in

fact occurred. Clena Invs., Inc. v. XL Specialty Ins. Co., No. 10–cv–62028, 2012

WL 1004851, at *4 (S.D. Fla. Mar. 26, 2012) (citations omitted); see also Mount


                                     –42–
USCA11 Case: 23-13031      Document: 14    Date Filed: 11/29/2023   Page: 54 of 65



Vernon Fire Ins. Co. v. Editorial Am., S.A., 374 So. 2d 1072, 1074 (Fla. 3d

DCA1979).

      So, to prevail on summary judgment on notice grounds, a party must

first demonstrate through undisputed facts (1)that notice was untimely un-

der the policy, and (2) that prejudice exists, either by operation of the unre-

butted presumption or otherwise. See Mid–Continent Cas. Co. v. Basdeo, 742 F.

Supp. 2d 1293, 1335 (S.D. Fla. 2010).

      In this case, the District Court concluded that L. Squared’s purported

untimely notice entitled Nautilus to judgment as a matter of law. However,

Nautilus neither alleged prejudice in its Answer and Affirmative Defenses,11

nor offered any argument or proof of prejudice in its motion for summary

judgment. (Doc. 12; Doc. 51). In fact, the District Court reached its conclusion

without considering the issue of prejudice at all. See generally (Doc. 89). This

was error. Clena Invs., Inc. v. XL Specialty Ins. Co., No. 10–cv–62028, 2012 WL

1004851, at *4 (S.D. Fla. Mar. 26, 2012) (citations omitted); see also Mount

Vernon Fire Ins. Co. v. Editorial Am., S.A., 374 So. 2d 1072, 1074 (Fla. 3d




11 Though Nautilus raised the issue of untimely notice in its Seventh Affirm-

ative Defense, it did not allege prejudice. See (Doc. 12, pg. 9).


                                      –43–
USCA11 Case: 23-13031      Document: 14    Date Filed: 11/29/2023   Page: 55 of 65



DCA1979); Mid–Continent Cas. Co. v. Basdeo, 742 F. Supp. 2d 1293, 1335 (S.D.

Fla. 2010).

      In any event, there is ample record evidence to demonstrate that Nau-

tilus suffered no prejudice. For instance, the record is replete with the back

and forth correspondence between FDEP and L. Squared’s contractors as L.

Squared continued to remediate and take corrective action during the pen-

dency of this litigation. E.g., (Doc. 57-19, pg. 1) (“I have since been perform-

ing assessment activity and consulting with counsel for L. Squared in dis-

cussions with FDEP to arrive at an allocation of costs between L. Squared

and FDEP for completion of cleanup at the site.”); (Doc. 57-14). See also (Doc.

49-16; Doc. 49-18; Doc. 50-20; Doc. 61-10; Doc. 61-13); and the FDEP order

absolving the Maleys (and Nautilus) of further responsibility. (Doc. 49-21).

As part of this litigation, L. Squared sought to recover both its corrective ac-

tion costs and its Defense Costs under the Policy, which it defined as the

actions it took to limit and resolve with FDEP its (read: Nautilus’) liability

for the new release. E.g., (Doc. 57-1, pg. 15).

      This evidence showing that Nautilus was not prejudiced by the pur-

ported late notice is best summarized by Darrin McKeehen of FDEP in his

deposition:

                                      –44–
USCA11 Case: 23-13031            Document: 14   Date Filed: 11/29/2023   Page: 56 of 65



              Q.     Is it fair to say that Mr. Ullo [L. Squared’s attor-
                     ney] and Mr. Taylor were working with the de-
                     partment to try to make sure that responsibility
                     for the two discharges was properly allocated
                     as between the department and L. Squared?

              A.     Yes, sir.

(Doc. 57-23, pg. 152:11-16). Accordingly, it was error to conclude that Nauti-

lus is entitled to judgment as a matter of law based on L. Squared’s pur-

ported untimely notice.

         D.        Several of the District Court’s findings are clearly erroneous
                   or involve genuinely disputed material facts.

      Several of the District Court’s findings are clearly erroneous or involve

genuinely disputed material facts. “Summary judgment will not lie if a dis-

pute about a material fact is ‘genuine,’ that is, if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “A finding is ‘clearly erroneous’

when although there is evidence to support it, the reviewing court on the

entire evidence is left with the definite and firm conviction that a mis-

take has been committed.” U.S. v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948).

      Several of the District Court’s findings are clearly erroneous or involve

genuinely disputed material facts. For example, the District Court found:



                                           –45–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 57 of 65



“After FDEP reviewed the report, it determined that the report was not ‘in

compliance with’ Department guidelines and further corrective action

needed to be completed, including more sampling.” (Doc. 89, pg. 5). This

finding is clearly erroneous because it misconstrues the evidence and fails to

account for Florida law. Specifically, FDEP was not ordering “corrective ac-

tion,” but rather the filing of a Discharge Report Form and the conduct of

additional sampling to determine whether a release had occurred. See (Doc.

57-9). While it is true that FDEP concluded that the report did not fully com-

ply with its Closure Assessment Guidelines, the reason for this conclusion is

that the Department’s Closure Assessment Guidelines are part of its Storage

Tank Rule, chapter 62-761, Florida Administrative Code. See Fla. Admin.

Code R. 62.761.600. The purpose of the Guidelines is to determine whether

there has been a release. Fla. Admin. Code R. 62.761.600(1)(a) (“Storage tank

systems shall have a method, or combination of methods, of release detec-

tion that can detect new release from any portion of the storage tank sys-

tem.”). Closure Assessments are used to determine whether a discharge has

occurred and are required under rule 62-761.600. Fla. Admin. Code. Correc-

tive action is not required unless the Department determines that there has,




                                    –46–
USCA11 Case: 23-13031      Document: 14   Date Filed: 11/29/2023   Page: 58 of 65



in fact, been a release, in which case, different regulations, chapter 62-780,

Florida Administrative Code, apply.

      Next, the District Court found:

            The Discharge Report Form (DRF) identifies that the
            leak was discovered in July 2017. The DRF also iden-
            tified that the discharged substance was gasoline and
            diesel and that it was affecting soil and groundwater.

(Doc. 89, pgs. 5-6). This is a genuinely disputed issue of material fact. As

explained above, a DRF is required when there is a “confirmed discharge”

or when visual observations or analytical tests (surface, groundwater, or soil)

indicate the presence of contamination, or in the event of a spill or overfill of

a regulated substance. So, contrary to the District Court’s finding, the simple

act of filing a DRF does not necessarily indicate the discovery of a discharge.

      This is especially true in this case where L. Squared’s corporate repre-

sentative testified that it submitted the DRF at the Department’s insistence,

but did not believe there had been a discharge. (Doc. 57-17, pgs. 21:11–24;

62:11–63:3; 71:13–72:20; 76:12–20; 114:17–24; 137:4–19; 157:20–158:2; 170:5–

172:11–15). See also (Doc. 57-9) (FDEP letter dated March 8, 2018, directing L.

Squared to file a Discharge Reporting Form); (Doc. 89, pg. 6, n.1) (noting that

the Discharge Reporting Form was filed on March 8, 2018).



                                      –47–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 59 of 65



     Furthermore, L. Squared had previously filed an Incident Notification

Form (“INF”) that noted the cracked spill buckets. (Doc. 57-7). Under rule

62-761.430(5), Florida Administrative Code, and the Instructions accompa-

nying the DRF, the DRF must be submitted within 14 days of the INF if an

investigation following the INF cannot rule out a discharge. In this case,

more than 14 days had passed, both because L. Squared did not receive the

Department’s response to the report (which was sent to an incorrect email

address) (Doc. 57-17, pgs. 54:22–55:1; Doc. 57-13, pg. 1) and because the De-

partment was requiring additional sampling as part of the Closure Assess-

ment. So, contrary to the District Court’s finding, L. Squared did not submit

the DRF to report the discovery of a discharge, rather, it did so because FDEP

rules required a DRF to be filed since the incident notification had not yet

been resolved.

     Next, the District Court found:

            The DRF also instructs the signee to ‘remember to
            properly notify your insurance company of this re-
            ported discharge in accordance with the reporting
            requirements outlined in your insurance policy.’

(Doc. 89, pg. 6). Again, filing the DRF had nothing to do with the discovery

of a discharge; L. Squared filed the DRF at FDEP’s insistence because the



                                    –48–
USCA11 Case: 23-13031     Document: 14   Date Filed: 11/29/2023   Page: 60 of 65



incident reported in the INF had not yet been resolved. At this point, the

Closure Assessment was not complete and the only sampling report that

identified contamination noted that the contamination should be handled as

part of the 1985 EDI discharge. See (Doc. 57-8, pg. 8) (“The site is currently

registered in the FDEP Petroleum Restoration Program and is awaiting

funding for further assessment.”); (Doc. 57-12, pg. 4) (“Taylor recommends

addressing the groundwater contamination discovered at dispenser 5/6 as

part of the EDI-funded assessment and cleanup.”).

      In any event, FDEP’s suggestion was not to simply notify the insurer,

but to notify the insurer “in accordance with its reporting requirements.” As

explained elsewhere in this brief, the policy required reporting only after

there had been an investigation and confirmation of a covered discharge.

      The District Court’s finding that “On May 23, 2017[,] FDEP inspected

Plaintiff’s St. Augustine gas station and directed Plaintiff to take corrective

action” is also clearly erroneous. (Doc. 89, pg. 16). The phrase “corrective

action” is a term of art and, in this context, it connotes assessment and reme-

diation. See https://www.epa.gov/hw/learn-about-corrective-action#the-

process (last visited July 21, 2023). FDEP gave no such directive until April

16, 2019, when FDEP first states that a site assessment was required. (Doc.

                                     –49–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 61 of 65



57-14); (Doc. 57-23, pgs. 4–10). The undisputed evidence established that the

FDEP inspector directed L. Squared to make repairs to a cracked boot and

conduct hydrotesting to determine whether a discharge had occurred. (Doc.

57-6, pg. 4). The inspector specifically stated that there was “[n]o indication

of release.” (Doc. 67-6, pg. 4). Because L. Squared had to make repairs, it had

to do a closure assessment, which is not “corrective action.” It is designed to

determine whether a release has occurred. If a release has occurred, only

then would corrective action be required.

      The District Court’s finding that “In taking the corrective action, by

July 2017, Plaintiff knew pollution conditions existed” is likewise clearly er-

roneous and is also a genuinely disputed issue of material fact. As discussed

above, filing a DRF does not necessarily indicate the discovery of a dis-

charge; rather, as in this case, it reports the detection of contamination. Fur-

ther, the DRF had to be filed because there was an unresolved Incident No-

tification Form relating to the July 2017 inspection. Fla. Admin. Code R. 62-

761.430(5). That is the source of the July 2017 date on the DRF. L. Squared’s

corporate representative testified that it filed the DRF only because FDEP

required it. (Doc. 57-17, pgs. 21:11–24; 62:11–63:3; 71:13–72:20; 76:12–20;

114:17–24; 137:4–19; 157:20–158:2; 170:5–172:11-15). L. Squared had no

                                     –50–
USCA11 Case: 23-13031     Document: 14         Date Filed: 11/29/2023   Page: 62 of 65



knowledge of a release from a covered storage tank system, nor knowledge

of any “pollution conditions” other than the pre-existing contamination.

      The District Court also found:

            When signing the DRF Plaintiff was specifically in-
            structed to notify Defendant about the notified dis-
            charge. (Doc. 89, pg. 16).

                                       [***]

            It is undisputed that Plaintiff knew by March 8, 2018
            [the date of the DRF] that gasoline and diesel were
            leaking from Plaintiff’s facility. (Doc. 89, pgs. 16–17).

                                       [***]

            Even if that [Plaintiff’s] representative did not know
            whether pollution conditions existed in July 2017,
            that representative knew the pollution conditions ex-
            isted on March 8, 2018, which was before the insur-
            ance policy took effect. (Doc. 89, pg. 17).

                                       [***]

            Even if the contamination was new or related back to
            1985, Plaintiff had a duty under contract to notify De-
            fendant within seven days of the Taylor Report.
            (Doc. 89, pgs. 18–19).

The record does not support these findings and they are very much in dis-

pute. The boilerplate language in the DRF is not a specific instruction. In any




                                      –51–
USCA11 Case: 23-13031     Document: 14    Date Filed: 11/29/2023   Page: 63 of 65



event, as explained above, the record establishes that L. Squared did not sub-

mit the DRF to report a new release; it did so because FDEP and its rules

required it to do so.

      L. Squared wholeheartedly disputes that it knew by March 8, 2018—

the date of the DRF—that gasoline and diesel were leaking from its facility.

The record evidence establishes that between July 2017 and March 2018, L.

Squared’s investigation had revealed and its contractors had determined,

that the noted contamination was from the pre-existing contamination and

it should be remediated under the state-funded program. E.g., (Doc. 57-8, pg.

8) (“The site is currently registered in the FDEP Petroleum Restoration Pro-

gram and is awaiting funding for further assessment.”); (Doc. 57-12, pg. 4)

(“Taylor recommends addressing the groundwater contamination discov-

ered at dispenser 5/6 as part of the EDI-funded assessment and cleanup.”).

It was not until April 2019 (as reflected in a June 2019 report) that L. Squared

knew and confirmed that a new release had occurred, and FDEP still had

doubts about a new release until much later. (Doc. 57-13). Furthermore, the

Court’s reliance on the Taylor Environmental Closure Report is misplaced.

While it is true that Taylor found contaminated groundwater, it was unclear

whether it was a result of the pre-existing contamination. (Doc. 57-12, pg. 4)

                                     –52–
USCA11 Case: 23-13031    Document: 14   Date Filed: 11/29/2023   Page: 64 of 65



(“It is our opinion that the contaminant concentrations in groundwater are

from the original discharge reported in 1985 or from the discharge that was

reported on March 8, 2018 . . . .”; “Taylor recommends addressing the

groundwater contamination discovered at dispenser 5/6 as part of the EDI-

funded assessment and cleanup.”).

                              C ONCLUSION

     For the foregoing reasons, Plaintiff-Appellant asks this Honorable

Court to reverse the Final Judgment.

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                                    –53–
USCA11 Case: 23-13031    Document: 14     Date Filed: 11/29/2023   Page: 65 of 65



                      C ERTIFICATE OF C OMPLIANCE

     I hereby certify that the foregoing Appellant’s Opening Brief complies

with the type-volume limitation of Fed. R. App. P. 32. The number of words

in Appellant’s Opening Brief is 11,015.

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                                    –54–
